21-CVv- -PA- Document 1-1 Filed 06/24/21 Page 1of27 Page ID#:64
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SUM-100

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NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO);

Zones Inc., Zones LLC, Ultipro Inc.,Ultipro, The Ultimate Software
Group Inc. UKG Inc. Rose Capistran, Nate McChesney, Nathan Remaly

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

James Arthur Ortega

NOTICE! You have been sued, The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court.

There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services froma nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www. /awhelpcalifornia.org), the California Courts Online Self-Help Center
(www. courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
JAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informacién a
continuacion.

Tiene 30 DIAS DE CALENDARIO después de que fe entreguen esta citacién ¥ papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefonica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en Ia corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mas informacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en !a corte que le quede mas cerca. Si no puede pagar ia cuota de presentacion, pida al secretario de la corte
que le dé un formulario de exencién de pago de cuotas. Sino presenta su respuesta a tiempo, puede perder e! caso por incumptimiento y la corte le
podra quitar su sueldo, dinero y bienes sin mas advertencia.

Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogada, puede lamar a un servicio de
remision a abogados. Sino puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,

(www lawhelpcalifornia.org), en ef Centro de A yuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperacién de $10,000 6 mas de valor recibida mediante un acuerdo o una concesién de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is: CASE NUMBER:
(El nombre y direccién de la corte es): Norwalk Courthouse Name Cet Caso);

12720 Norwalk Blvd 21nvvoyvoo1 05
Norwalk, CA 90650

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccién y el numero de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):

Timothy Donahue (110501), L/O of Timothy Donahue, 374 S. Glassell St., Orange, CA 92866 (714)289-2445

DATE: Sh . Carter Executive Officers C fCout Clerk, b , Deput
(Fechay 22tF0?24 erri R. Carter Executive Officers Clerk o (secatade) E. Chanes (Aajunto)
(For proof of service of this Summons, use Proof of Service of Summons (form POS-010).)

(Para prueba de entrega de esta citatién use e! formulario Proof of Service of Summons. (POS-010)).

NOTICE TO THE PERSON SERVED: You are served

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ey we, 1. pees as an individual defendant.
AME VA yo ictiti ify):
Ae Cos, Zz, as the person sued under the fictitious name of (specify):
6 Ee oy th,
+ TAT ee
Si 3, L__] on behalf of (specify):
= S/ under. L__] CCP 416.10 (corporation) [__] CCP 416.60 (minor)
a , [_} CCP 416.20 (defunct corporation) [__] CCP 416.70 (conservatee)
n [ ~] CCP 416.40 (association or partnership) [~] CCP 416.90 (authorized person)
(“] other (specify):
4. [__] by personal delivery on (date):
Page 1 of 1
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Timothy J. Donahue, SBN No. 110501

LAW OFFICES OF TIMOTHY J. DONAHUE
374 South Glassell Street

Orange, CA 92866

Telephone: (714) 289-2445

Facsimile: (714) 289-2450

Attorney for Plaintiff,
James Arthur Ortega

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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

James Arthur Ortega, ) CASENO.
)
Plaintiff, )
) COMPLAINT FOR DAMAGES
vs. )
) 1. Wrongful Termination - GC 12940(a)
Zones Inc., Zones LLC, Ultipro Inc.,Ultipro,) 2. Failure to Pay Overtime Wages,
The Ultimate Software Group Inc. UKG Inc.) California Labor Code §1194.510(a)
Rose Capistran, Nate McChesney, Nathan) and California Code of Regulations
Remaly and DOES | through 10, ) §11040
) 3. Failure to Provide Meal & Rest Periods
Defendants. ) California Labor Code
) §§226.7, 512; IWC Wage Order 5
) 4, Failure to Pay Discharged Employee
) Labor Code §§201, 202 and 203
) 5. Violation Labor Code §§206.5
) 6. Failure to Provide Correct Itemized
) Statement to Employee Labor Code
) §226
) 7. Unfair Business Practices
) California Business & Professions
) Code §17200 et Seq.
) 8 Termination in Violation of Public
) Policy
)
GENERAL ALLEGATIONS

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Plaintiff James Arthur Ortega, allege as follows:

i, Defendants and each of them have caused harm to plaintiff, as set forth herein.

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2 At all times stated herein, plaintiff was employed , hired, controlled,
monitored and paid by and through defendants, including individual defendants. The individual
defendants (hereinafter "individual defendants" ) are Rose Capistran, Nate McChesney, Nathan
Remaly. At all times relevant, plaintiff was employed by defendants and defendants were the joint
employers of plaintiff. Plaintiff was employed by defendants, in the city of Cerritos, County of Los
Angeles, state of California.

3. At all times stated, defendants and each of them, including Does 1 through 10,
were in some manner liable, negligent and responsible, to plaintiff for the loss harm and damage
suffered. Defendants and each of them, including Does 1 through 10 authorized, ratified and
approved, the wrongful conduct resulting in loss and harm to plaintiff. Plaintiff is unaware of the
true names and capacities of Doe defendants, and reserves the right CCP §474, to amend this
complaint when their identities have been ascertained. During the applicable statute of limitations,
defendants and each of them wrongfully, unfairly and improperly caused loss and harm to plaintiff,
as set forth herein..

4. Plaintiff was employed by defendants, for approximately 7 1/2 years, until May
13, 2020, at which time plaintiff suffered a wrongful termination. At the time of termination,
plaintiff was over 40 years of age. Plaintiff worked For defendants in their warehouse and was
supposed to be paid an hourly wage.. Defendants and each of them improperly, unreasonably, and
wrongfully discriminated against plaintiff, in the firing which occurred May 13, 2020, after
pleintiff reported an injury/disability. Defendants engaged in a cover-up and developed a pretext
for the firing of plaintiff.

3. Defendants required plaintiff to work overtime, throughout the years but refused
to pay overtime. Defendants required plaintiffs to work without rest breaks and/or throughout the
rest breaks, that were sometimes provided. Plaintiff was not allowed to take lunch breaks and/or
not allowed to take timely lunch breaks and rest breaks. Defendants required plaintiffs to work
long hours, and sometimes six days a week. At times, plaintiff became extremely tired, because
defendants refuse to allow plaintiff a seat; which she could have used to perform her job. At all

times relevant, defendants refused to assist or accommodate plaintiff, for injuries/disability..

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6. Defendants did pay plaintiff some wages, but not all wages. Plaintiff is still
waiting to be paid all of her wages, since he was wrongfully terminated on May 13, 2020. The
agreed rate of pay was $23.09 an hour. Defendants failed and refused to pay overtime and failed
and refused to pay premium time penalties, for lunch and meal violations. Defendants have not
paid plaintiff for vacation and/or sick leave, which was accrued. Defendants wrongfully, illegally,
deceptively and unfairly made deductions from plaintiffs paycheck. The improper deductions were
for such things as phony short-term and long-term disability plans. The plans were worthless.

7 In the calendar year 2017, and 2019, plaintiff repeatedly requested proper
treatment and proper payment of wages. Defendants and each of them failed and refused, and
harassed plaintiff, because of these requests. On August 4, 2019, plaintiff requested payment or
assistance from defendants, for the disability policy. Defendants failed and refused toto provide
any benefits or assistance . Plaintiff requested restitution for money wasted on the worthless
policy. Defendants refused. In September 2019, and thereafter, defendants intimidated, harassed
and threatened plaintiff after he was injured on the job and requested assistance. Plaintiff’s on the
job injury occurred in mid-2019. Plaintiff was entitled to workers compensation benefits but
defendants falsely, fraudulently and improperly put plaintiff on FMLA instead. Plaintiff returned
to work in or about September 2019. Plaintiff had been off work for approximately (2) two
months .

8. Defendants engaged in a pattern and practice, of harassing injured employees
insluding plaintiff, in violation of ite VI. Among other things, defendants attempted to trick
plaintiff, into quitting, when he refused, he was fired. Defendants had no legitimate basis for
terminating plaintiff. Defendants retaliated against plaintiff based on his age/disability..

9, Plaintiff has obtained a right to sue letter, FROM THE DEPARTMENT OF
FAIR EMPLOYMENT HOUSING. See Exhibit 1, attached hereto and incorporated by reference
as though set forth at length. At the time of plaintiff's wrongful termination, defendants knew
that it was illegal and improper to fire plaintiff on the basis of his medical condition and request
for leave. Despite this, defendants proceeded to fire plaintiff, on the basis of his age and/or

disability.

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FIRST CAUSE OF ACTION

(Wrongful Termination - GC 12940(a) Against Business Defendants)

10. Plaintiff incorporates all of the preceding paragraphs as though set forth at
length herein. This cause of action is not against the individual defendants.

11. Plaintiff was employed by an work for defendants, for about 7 1/2 years. On
May 13, 2020, plaintiff was a member of a protected class. Defendants and each of them were
aware of plaintiffs age and disability/injury. Defendants had no legitimate nondiscriminatory
reason for firing plaintiff, but simply fired plaintiff because of his age, request for leave and/or
disability.

12. Plaintiff was employed by an work for defendants, for about 7 1/2 years. On
May 13, 2020, plaintiff was a member of a protected class. Defendants and each of them were
aware of plaintiff's age, injury/disability and need for medical leave, per CFRA. Defendants had
no legitimate nondiscriminatory reason for firing plaintiff, but simply fired plaintiff because of
his age, injury and need for medical leave.

SECOND CAUSE OF ACTION

(Failure to Pay Overtime Wages in Violation of Labor Code §§1194 and 510,
a Violation of California Code of Regulations §11040 Against all Defendants)
13. Plaintiff allege and incorporates by reference, each and every allegation

contained in the preceding paragraphs, as though set forth at length herein.

14, Plainuff is informed and believe, and thereon allege, at all times relevant to
employment by defendants, California Labor Code §510(a), 1194 and IWC wage orders, were
in full force and effect, and binding upon defendants. The statutes and wage orders require
defendants to pay Plaintiffs 1 '4 times the regular rate of pay for each hour of work performed, in
excess of eight hours per workday and/or in excess of 40 hours per each work week.

15. Plaintiff is informed and believes, and thereon allege, that defendants failed to
pay at a rate of 1 % times their regular rate of pay, for all hours worked, in excess of 8 hours per
each work day and/or in excess of 40 hours in each work week. Defendants failed and refused to

pay all wages. Defendants engaged in deceptive rounding tactics..

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16.  Asaresult of the unlawful acts of defendants, Plaintiff is entitled to recover
unpaid overtime wages in an amount to be proven at trial, pre-judgment interest, attorneys fees

and costs, pursuant to California Labor Code §1194,

THIRD CAUSE OF ACTION

(Failure to Provide Meal and Rest periods, Violation of California Labor Code

§§226.7 and 512; Violation of IWC Wage Order 5 Against all Defendants)
17. Plaintiff allege and incorporate by reference, each and every allegation
contained in the preceding paragraphs, as though set at length herein.

18. Plaintiff is informed and believe, and thereon allege, that California Labor

Code §§512 and 226.7, were in full force and effect, and binding on defendants, during all times
mentioned in this complaint. Said sections require employers to comply with all IWC wage
orders governing meal and rest periods.

19. Plaintiff is informed and believe, and thereon allege, that the IWC wage orders
were in full force and effect, and govern when employers, including these defendants, must give
employee breaks for meal and rest periods. The wage orders state in pertinent part, employers
must provide at least 30 minutes of meal, for every eight hours of work and another 30 minutes if
the work is 10 hours or more. Furthermore, the IWC wage orders state in pertinent part, that
employees must be given at least a 10 minute rest for every four hours of work, or major fraction

thereof.

20. Plaintiff is informed and belicve, and thereon allege, that defendants failed to

provide proper meal and rest periods in violation of IWC wage orders and California Labor

Code §§ 226.7 and 512. Defendants failed to provide uninterrupted meal periods for the full 30
minutes as required by California law.

21. Plaintiff is informed and believe, and thereon allege, that the IWC Wage Orders
in the California Labor Code mandate, that defendants pay to plaintiffs one hour of pay at
plaintiffs’ regular rate of pay, every missed meal and rest. Plaintiff is thereby entitled to these

penalties in an amount to be proven at trial.

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FOURTH CAUSE OF ACTION

(Failure to Pay Discharged Employee; Violation of Labor Code §§ 201
and 203 Against all Defendants)
Be: Plaintiff allege and incorporate by reference, each and every allegation
contained in the preceding paragraphs, as though set forth at length herein.

23.  Atall times mentioned in this complaint, California Labor Code §§201 and

203, were in full force and effect, and binding on defendants. Said sections require an employer
to pay all unpaid and earned wages to an employee, immediately upon discharge.

24. Plaintiff is informed and believe, and thereon allege, that defendants refused
and/or willfully failed to pay all wages owed to Plaintiff at the time of discharge.

25. As aresult of defendants’ violation of Labor Code §§201and 203, Plaintiff is
entitled to penalties under Labor Code §203, which provides that upon violation of Labor Code
§ 201, the wages of the employee shall continue as a penalty from the date thereof, at the same
rate until paid, or until an action is commenced, but such wages shall not continue for more than
30 days.

FIFTH CAUSE OF ACTION

(Illegal Release of Wages, Violation of California
Labor Code §§ 206.5 Against all Defendants)

26. Plaintiff incorporates by reference, each and every allegation contained in the

preceding paragraphs, as though set forth at length herein.

27.  Atall times herein set forth, California Labor Code sections 206.5 provide

that an employer must pay all wages due and may not take or insist upon a release for payment of
wages.

28. Plaintiff was pressured to sign a void enforceable release on or about May 13,
2020 for money and wages that were not fully reimbursed by defendants, including and without
limitation, transportation, medical expenses and related items that resulted from her employment
with defendants. Specifically, defendants required plaintiff to sign this alleged release, when

being fired and without prospects of a job, in order for plaintiff to be paid . Defendants had, and

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continue to have, a policy of tricking employees/plaintiff and pressuring for a signature.
Defendants provided and offered no cancellation. Or holding period.

29. Defendants have intentionally and willfully failed to fully reimburse Plaintiff for
necessary related wages,expenses and costs.

30. Defendants’ conduct violates California Labor Code Sections 206.5.

31. Plaintiff is entitled to recover from defendants their business-related expenses
incurred during the course and scope of their employment, plus interest, and an award of costs

and reasonable attorney’s fees pursuant to California Labor Code section 206.5.

SIXTH CAUSE OF ACTION

(Failure to Provide Correct Itemized Statement to Employee;
Violation of Labor Code §226 Against all Defendants)

32. Plaintiff alleges and incorporates by reference, each and every allegation
contained in the preceding paragraphs, as though set forth at length herein.

33. Plaintiff is informed and believes and thereon alleges, that defendants are
required by law, to provide a proper itemized statement to Plaintiff, under Labor Code §226.
Said section requires employers to give an itemized statement to an employee at every pay
period, which includes a gross wages earned, total hours worked, all deductions, and the wages
earned, for which the period was paid, employee’s name and Social Security number, name and

address of employer and all applicable hourly rates. Defendants are required to pay to the

appropriate governmental agency, all deductions taken from the employee’s pay.

34. At all times mentioned in this complaint, California Labor Code §226, was in

full force and effect and binding upon defendants.

35. Notwithstanding the requirements of Labor Code §226, plaintiff(s) received
improper and false itemized statements. Defendants and each of them were complicit in a shell
game, of hide and seek.Defendants made it impossible for plaintiff to determine who was paying

what when. The pay stubs were false and defendants engaged in illegal rounding, in violation of

Labor Code §226.

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36. Plaintiff is informed and believes, and thereon alleges, that they entitled to
penalties for failure to maintain proper and correct itemized statements, in violation of Labor
Code §226, in an amount according to proof at trial.

SEVENTH CAUSE OF ACTION

(Unfair Business Practices; Violation of Business & Professions Code
§17200 et seq. Against all Defendants)
37. Plaintiff alleges and incorporate by reference, each and every allegation
contained in the preceding paragraphs, as though set forth at length herein.

38. At all times herein mentioned, California Business and Professions Code

§17200 et seq., was in full force and effect, and binding upon defendants. Said sections prohibit
defendants from engaging in unfair practices, including, but not limited to, failure to pay proper
overtime wages and to pay all wages owed to the Plaintiff.

39. Plaintiff is informed and believes, that defendants engaged in unlawful business

practices in violation of California Business and Professions Code §17200 et seq., failing to

pay overtime wages and failing to pay all wages owed to Plaintiff. Therefore, Plaintiff is entitled
to restitution, For sale and promotion by defendants, of false, phony and fraudulent disability

plans.Plaintiff is entitled to injunctive relief and pursuant to California Business and

Professions Code §§17203 and 17208, in an amount according to proof at trial.

40. Plaintiff was tricked and deceived by defendants, including individual

defendants into buying disability insurance . The disability insurance peddled by defendants was
worthless. Plaintiff seeks restitution of all premiums deducted by defendants from plaintiff's
paychecks.

41. Defendants have intentionally and willfully taken money from plaintiffs under

false pretenses.

42. Defendants’ conduct violates California Labor Code Sections 2800 and 2802.

43. Plaintiff is entitled to recover from defendants their business-related expenses
incurred during the course and scope of their employment, plus interest, and an award of costs

and reasonable attorney’s fees pursuant to California Labor Code section 2802.

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44. Plaintiff is informed and believes, that defendants engaged in unlawful business

practices in violation of California Business and Professions Code §17200 et seq., failing to

pay overtime wages and failing to pay all wages owed to Plaintiff. Therefore, Plaintiff is entitled

to restitution pursuant to California Business and Professions Code §§17203 and 17208, in an

amount according to proof at trial.

EIGHTH CAUSE OF ACTION

(Wrongful Termination Public Policy- Against Business Defendants)

45. Plaintiff incorporates, as though repeated and restated herein, paragraphs 1--12.
This cause of action is not against the individual defendants.

54. Plaintiff'was injured on the job, and suffered injury/disability. Defendants wrongfully
insisted that plaintiff go on FMLA. That way plaintiff would receive no benefits and defendant
would not have to submit a claim to their workers compensation carrier .

55. Defendants and each of them have engaged in unfair business practices and failed
to comply with Govt. Code 12940(a), based on plaintiffs age, medical condition/work injury.
Plaintiffs seek recovery of all penalties and attorneys fees as authorized by law, for violation of
public policy and improper payment of wages.

56. Defendants are liable and, for maintaining and implementing improper public
policy and improper Harassment and retaliation based upon complaints/request for payment of

wages and hours to employees, including, set forth herein.

PRAYER FOR RELIEF

On information and belief, plaintiff's damages, as set forth below are less than $75,000. Plaintiff
reserves the right to perform discovery and amend said prayer for damages. Plaintiff

prays for judgment against defendants as follows:

L. For all economic damages caused, and according to proof, as authorized
by law;
2 For all noneconomic damages caused, and according to proof, as

authorized by law;

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1 2. For injunctive relief and equitable relief, according to proof, as authorized
2 by law;

3 4. For civil penalties, as authorized by law, according to proof:
4 5, For punitive damages, according to proof, as may be authorized by law;
5 6. For attorneys fees, as authorized by law, according to proof:
6 7h For prejudgment interest, as authorized by law, and according to proof:
i 8. For costs of suit, as authorized by law, according to proof; and
8 9. For all further relief, as may be authorized by this court.
9
10 || DATED: February 19, 2021 LAW OFFICES OF TIMOTHY J. DONAHUE
a
2 By:__/s/Timothy J. Donahue
Timothy J. Donahue
1.3 Attorney for Plaintiff,
James Arthur Ortega
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Exhibit 1
Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 13o0f27 Page ID#:76

ers, STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency GAVIN NEWSOM, GOVERNOR
/|@\j DEPARTMENT OF FAIR EMPLOYMENT & HOUSING ee

Wu iay —

' Nv is i i 2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758

QRS oy (800) 884-1684 (Voice) | (800) 700-2320 (TTY) | California's Relay Service at 711
ce cano http://www.dfeh.ca.gov | Email: contact.center@dfeh.ca.gov

February 19, 2021

Timothy Donahue
374 S GLASSELL ST
ORANGE, California 92866

RE: Notice to Complainant’s Attorney
DFEH Matter Number: 202102-12666419
Right to Sue: ORTEGA / ZONES INC OF WASHINTON et al.

Dear Timothy Donahue:

Attached is a copy of your complaint of discrimination filed with the Department of Fair
Employment and Housing (DFEH) pursuant to the California Fair Employment and
Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
Notice of Case Closure and Right to Sue.

Pursuant to Government Code section 12962, DFEH will not serve these
documents on the employer. You must serve the complaint separately, to all named
respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
information regarding filing a private lawsuit in the State of California. A courtesy "Notice
of Filing of Discrimination Complaint" is attached for your convenience.

Be advised that the DFEH does not review or edit the complaint form to ensure that it
meets procedural or statutory requirements.

Sincerely,

Department of Fair Employment and Housing
Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 14o0f27 Page ID#:77

Gr, A ORNIA | Business, Co er Services and Housing Agenc; GAVIN NEWSOM, GOVERNOR
if + Ne K' DIRECT!
Vay] yj DEPARTMENT OF FAIR EMPLOYMENT & HOUSING VINES NPREGIOR
3 Ni, a a fg 2218 Kausen Drive, Suite 100 | Elk Grove | CA 1 95758
WZ y (800) 884-1684 (Voice) | (800) 700-2320 (TTY) | California's Relay Service at 711

Ne sain http://www.dfeh.ca.gov | Email: contact.center@dfeh.ca.gov

February 19, 2021

RE: Notice of Filing of Discrimination Complaint
DFEH Matter Number: 202102-12666419
Right to Sue: ORTEGA / ZONES INC OF WASHINTON et al.

To All Respondent(s):

Enclosed is a copy of a complaint of discrimination that has been filed with the
Department of Fair Employment and Housing (DFEH) in accordance with Government
Code section 12960. This constitutes service of the complaint pursuant to Government
Code section 12962. The complainant has requested an authorization to file a lawsuit. A
copy of the Notice of Case Closure and Right to Sue is enclosed for your records.

This matter may qualify for DFEH’s Small Employer Family Leave Mediation pilot
program. Under this program, established under Government Code section 12945.21,
a small employer with 5 -19 employees, charged with violation of the California Family
Rights Act, Government Code section 12945.2, has the right to participate in DFEH’s
free voluntary mediation service. Under this program both the employee requesting an
immediate right to sue and the employer charged with the violation may request that all
parties participate in DFEH’s free voluntary mediation service. A request for mediation
must be made within 30 days of receipt of the Notice of Case Closure and Right to Sue.
If mediation is requested, the employee is prohibited from filing a civil action until
mediation is complete. The employee's statute of limitations to file a civil action,
including for all related claims not arising under section 12945.2, is tolled from DFEH’s
receipt of a mediation request under section 12945.21 until mediation is complete. To
request DFEH Small Employer Family Leave Mediation, email
DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number indicated on
the Right to Sue notice.

Please refer to the attached complaint for a list of all respondent(s) and their contact
information.

No response to DFEH is requested or required.

Sincerely,

Department of Fair Employment and Housing
Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 15o0f27 Page ID#:78

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DEPARTMENT OF FAIR EMPLOYMENT & HOUSING KEVIN KISH, DIRECTOR

Vans) a
RN Jo a y. 2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758

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Yi
<Z/ (800) 884-1684 (Voice) | (800) 700-2320 (TTY) | California's Relay Service at 711

Wace http:/www.dfeh.ca.gov | Email: contact.center@dfeh.ca.gov

February 19, 2021

JAMES ARTHUR ORTEGA
15519 1/2 EUCALYPTUS AVENUE
BELLFLOWER, California 90706

RE: Notice of Case Closure and Right to Sue
DFEH Matter Number: 202102-12666419
Right to Sue: ORTEGA / ZONES INC OF WASHINTON et al.

Dear JAMES ARTHUR ORTEGA:

This letter informs you that the above-referenced complaint filed with the Department of
Fair Employment and Housing (DFEH) has been closed effective February 19, 2021
because an immediate Right to Sue notice was requested.

This letter is also your Right to Sue notice. According to Government Code section
12965, subdivision (b), a civil action may be brought under the provisions of the Fair
Employment and Housing Act against the person, employer, labor organization or
employment agency named in the above-referenced complaint. The civil action must be
filed within one year from the date of this letter.

This matter may qualify for DFEH’s Small Employer Family Leave Mediation pilot
program. Under this program, established under Government Code section 12945.21,a
small employer with 5 -19 employees, charged with violation of the California Family
Rights Act, Government Code section 12945.2, has the right to participate in DFEH’s
free voluntary mediation service. Under this program both the employee requesting an
immediate right to sue and the employer charged with the violation may request that all
parties participate in DFEH’s free voluntary mediation service. A request for mediation

must be submitted to the DFEH within 30 days of receipt of the Notice of Case Closure
and Right to Sue. If mediation is requested, the employee is prohibited from filing a civil

action until mediation is complete. The employee's statute of limitations to file a civil
action, including for all related claims not arising under section 12945.2, is tolled from
DFEH's receipt of a mediation request under section 12945.21 until mediation is
complete. To request DFEH Small Employer Family Leave Mediation, email
DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number indicated on
the Right to Sue notice.

To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
whichever is earlier.

Sincerely,
Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 16 of 27

Page ID #:79

GAVIN NEWSOM, GOVERNOR

_ *, Alt RNIA | Busine ervices and Housing
| ay) DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
q XY i LY = «2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758

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fi (800) 684-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
0 oe can http:/www.dfeh.ca.gov | Email: contact,center@dfeh.ca.gov

Department of Fair Employment and Housing

KEVIN KISH, DIRECTOR
Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 17of27 Page ID #:80

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COMPLAINT OF EMPLOYMENT DISCRIMINATION
BEFORE THE STATE OF CALIFORNIA
DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
Under the California Fair Employment and Housing Act
(Gov. Code, § 12900 et seq.)

In the Matter of the Complaint of
JAMES ARTHUR ORTEGA DFEH No. 202102-12666419

Complainant,
VS.

ZONES INC OF WASHINTON
13915 CERRITOS CORPORATE DR STE A
CERRITOS, California 90703

ZONES INC
1102 15TH STREET SW STE 102
AUBURN, Washington 98001

Respondents

1. Respondent ZONES INC OF WASHINTON is an employer ZONES INC OF WASHINTON
subject to suit under the California Fair Employment and Housing Act (FEHA) (Gov. Code, §
12900 et seq.).

2.Complainant is naming ZONES INC business as Co-Respondent(s).

3. Complainant JAMES ARTHUR ORTEGA, resides in the City of BELLFLOWER, State of
California.

4. Complainant alleges that on or about May 13, 2020, respondent took the following
adverse actions:

Complainant was harassed because of complainant's ancestry, disability (physical or
mental), medical condition (cancer or genetic characteristic), age (40 and over), family care
or medical leave (cfra),

Complainant was discriminated against because of complainant's ancestry, disability
(physical or mental), medical condition (cancer or genetic characteristic), age (40 and over),
family care or medical leave (cfra) and as a result of the discrimination was terminated,
reprimanded, denied any employment benefit or privilege, denied reasonable

-1-

Complaint - DFEH No. 202102-12666419

Date Filed: February 19, 2021

Cdse 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 18o0f27 Page ID#:81

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accommodation for a disability, denied work opportunities or assignments, denied family
care or medical leave (cfra).

Complainant experienced retaliation because complainant reported or resisted any form
of discrimination or harassment, requested or used a disability-related accommodation,
requested or used family care or medical leave (cfra) and as a result was terminated,
reprimanded, denied any employment benefit or privilege, denied reasonable
accommodation for a disability, denied work opportunities or assignments, denied family
care or medical leave (cfra).

Additional Complaint Details: Last day of work May 13, 2020

Harassment, retaliation, discrimination, wrongful termination based upon age and/or
disability

Failure to accommodate and failure to engage in the interactive process

2.

Complaint — DFEH No, 202102-12666419

Date Filed: February 19, 2021

Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 19o0f27 Page ID #:82

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VERIFICATION

|, Timothy Donahue, am the Attorney in the above-entitled complaint. | have read
the foregoing complaint and know the contents thereof. The matters alleged are
based on information and belief, which | believe to be true.

On February 19, 2021, | declare under penalty of perjury under the laws of the State
of California that the foregoing is true and correct.

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Date Filed: February 19, 2021

Complaint — DFEH No. 202102-12666419

Case 2:21-cv-05142-PA-MAA Document 4drawdyleg.06/24/21 Page 200f 27 Page ID#:83
Electronically FILED by Superior Court of California, County of Los Angeles on 02/22/2021 01:20 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Chanes, Depry 610.

| ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stale Bar number and address): FOR COURT USE ONLY
Timothy Donahue, Esq. (SBN: 110501)

LAW OFFICES OF TIMOTHY J. DONAHUE
374 South Glassell Street, Orange, CA 92866

TELEPHONE NO.: ie) 289-2445 raxno: (714) 289-2450
ATTORNEY FOR (Name): Plaintiff, James Arthur Ortega,

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
STREET ADDRESS: 12720 Norwalk Blvd

MAILING ADDRESS:

city ano zip cove: Norwalk, CA 90650
srancy name: Norwalk Courthouse

CASE NAME:
James Arthur Ortega,v. Zones Inc.., et. al.
CIVIL CASE COVER SHEET Complex Case Designation Se AE
Unlimited [_] Limited gonna 1 dees
(Amount (Amount JUDGE
demanded demanded is Filed with first appearance by defendant
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:

Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:

Auto Tort Contract Provisionally Complex Civil Litigation
Auto (22) Breach of contracthwarranty (06) | (Cal. Rules of Court, rules 3.400-3.403)

Uninsured motorist (46) Rule 3.740 collections (09) Antitrus/Trade regulation (03)
Other PI/PD/WD (Personal Injury/Property Other collections (09) Construction defect (10)
Damage/Wrongful Death) Tort Insurance coverage (18) Mass tort (40)

[J
Asbestos (04) Other contract (37) L__] Securities litigation (28)

WOU

Product liability (24) Real Property Environmental/T oxic tort (30)
Medical malpractice (45) Eminent domain/Inverse

Insurance coverage claims arising from the
[J other pypoiwo (23) condemnation (14) above listed provisionally complex case
Non-PI/PDIWD (Other) Tort [_] wrongful eviction (33) BEES Cet)
P| Business tort/unfair business practice (07) Other real property (26) Enforcement of Judgment
— Civil rights (08) Unlawful Detainer Eas Enforcement of judgment (20)
L_] Defamation (13) [__] commercial (31) Miscellaneous Civil Complaint
(_] Fraud (16) [_] Residential (32) [J rico (27)
CJ Intellectual property (19) [Ee Drugs (38) Other complaint (not specified above) (42)
[_] Professional negligence (25) Judicial Review Miscellaneous Civil Petition
C_] other non-PuPDAWD tort (35) [_] Asset forfeiture (05) Partnership and corporate governance (21)
Employment coy Petition re: arbitration award (11) Other petition (not specified above) (43)
Wrongful termination (36) | Writ of mandate (02)
[_] Other employment (15) [__] Other judicial review (39)
2. Thiscase |_] is L¥_] is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:
a. Large number of separately represented parties a.[_] Large number of witnesses
b.L_] Extensive motion practice raising difficult or novel __e. [__] Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court
c. [] Substantial amount of documentary evidence f. Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.L¥_] monetary .[¥_] nonmonetary; declaratory or injunctive relief. L¥_] punitive
4. Number of causes of action (specify): 9
5. This case (4 is isnot aclass action suit.
6.

If there are any known related cases, file and serve a notice of related case. (You may use form’ CM-015.)

Date: February 22, 2021 ff) oe
Timothy J. Donahue, Esq. > Ve ue C_

(TYPE OR PRINT NAME)

(SIGNATORE'GF PARTY OR ATTORNEY FOR PARTY)

NOTICE

paper filed in the action or proceeding (except small claims cases or cases filed
fare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result

* Plaintiff must file this cover sheet with the first
under the Probate Code, Family Code, or Wel
in sanctions.

* File this cover sheet in addition to any cover sheet required by local court rule.

* If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding.

* Unless this is a collections case under rule 3.740 ora complex case, this cover sheet will be used for statistical

purposes only.
age tof 2
Form Adopted for Mandatory Use Cal Rui
Judicial Council of California CIVIL CASE COVER SHEET Niel Seve oF EE te oak
CM-010 (Rev. July 1, 2007}

wiv. courtinfo.ca.gov
Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 210f27 Page ID #:84

CM-010
INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET

To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile

statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.

To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties in Rule 3.740 Collections Cases. A “collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that

the case is complex.

Auto Tort
Auto (22)~Personal Injury/Property
Damage/Wrongful Death
Uninsured Motorist (46) (if the
case involves an uninsured
motorist claim subject to
arbitration, check this item
instead of Auto)
Other Pl/PD/WD (Personal Injury/
Property Damage/Wrongful Death)
Tort
Asbestos (04)
Asbestos Property Damage
Asbestos Personal Injury/
Wrongful Death
Product Liability (not asbestos or
toxic/environmental) (24)
Medical Malpractice (45)
Medical Malpractice—
Physicians & Surgeons
Other Professional Health Care
Malpractice
Other PI/PD/WD (23)
Premises Liability (e.g., slip
and fall)
Intentional Bodily Injury/PD/WD

ascault. vandalism)

(a.9.. “Bu
Intentional infliction of

Emotional Distress
Negligent Infliction of

Emotional Distress
Other P/PD/WD

Non-PI/PD/WD (Other) Tort
Business Tort/Unfair Business
Practice (07)

Civil Rights (e.g., discrimination,
false arrest) (not civil
harassment) (08)

Defamation (e.g., slander, libel)

(13)

Fraud (16)

intellectual Property (19)

Professional Negligence (25)
Legal Malpractice
Other Professional Malpractice

(not medical or legal)

Other Non-Pi/PD/WD Tort (35)

Employment
Wrongful Termination (36)
Other Employment (15)

CASE TYPES AND EXAMPLES
Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
Contract/Warranty Breach—Seller
Plaintiff (not fraud or negligence)
Negligent Breach of Contract/
Warranty
Other Breach of Contract/Warranty
Collections (e.g., money owed, open
book accounts) (09)
Collection Case—Seller Plaintiff
Other Promissory Note/Collections
Case
Insurance Coverage (not provisionally
complex) (18)
Auto Subrogation
Other Coverage

Other Contract (37)
Contractual Fraud
Other Contract Dispute

Real Property

Eminent Domain/Inverse
Condemnation (14)

Wrongful Eviction (33)

Gther Real Property (e.g, quiet title) (2G)
Writ of Possession of Real Property
Mortgage Foreclosure
Quiet Title
Other Real Property (not eminent
domain, landlord/tenant, or
foreclosure)

Unlawful Detainer

Commercial (31)

Residential (32)

Drugs (38) (if the case involves illegal
drugs, check this item; otherwise,
report as Commercial or Residential)

Judicial Review

Asset Forfeiture (05)

Petition Re: Arbitration Award (11)

Writ of Mandate (02)
Writ-Administrative Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ-Other Limited Court Case
Review

Other Judicial Review (39)

Review of Health Officer Order
Notice of Appeal-Labor
Commissioner Appeals

Provisionally Complex Civil Litigation (Cal.
Rules of Court Rules 3.400-3.403)
AntitrustTrade Regulation (03)
Construction Defect (10)
Claims Involving Mass Tort (40)
Securities Litigation (28)
Environmental/Toxic Tort (30)
Insurance Coverage Claims
(arising from provisionally complex
case type listed above) (41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of Judgment (Out of
County)
Confession of Judgment (non-
domestic relations)
Sister State Judgment
Administrative Agency Award
(not unpaid taxes)
Petition/Certification of Entry of
Judgment on Unpaid Taxes
Other Enforcement of Judgment
Case

Miscellaneous Civil Complaint
RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Relief Only
Injunctive Relief Only (non-
harassment)
Mechanics Lien
Other Commercial Complaint
Case (non-tort/non-complex)
Other Civil Complaint
(non-tort/non-complex)
Miscellaneous Civil Petition
Partnership and Corporate
Governance (21)
Other Petition (not specified
above) (43)
Civil Harassment
Workplace Violence
Elder/Dependent Adult
Abuse
Election Contest
Petition for Name Change
Petition for Relief From Late
Claim
Other Civil Petition

CM-010 [Rev. July 1, 2007}

CIVIL CASE COVER SHEET

Page 2 of 2
Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 22 o0f27 Page ID#:85

SHORT TITLE: CASE NUMBER
James Arthur Ortega,v. Zones Inc.., et. al.

CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

This form is required pursuant to LASC Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.
Item |. Check the types of hearing and fill in the estimated length of hearing expected for this case:

JURY TRIAL? YES CLASSACTION? L_lyes LimiTED CASE? L_]yes TIME ESTIMATED FOR TRIAL? C] HOURS; 4) DAYS
item Il. Select the correct district and courthouse location (4 steps — If you checked “Limited Case”, skip to Item III, Pg. 4):
Step 1: After first completing the Civil Case Cover Sheet Form, find the main civil case cover sheet heading for your case in
the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.
Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have checked.
For any exception to the court location, see Los Angeles Superior Court Local Rule 2.0.

Applicable Reasons for Choosing Courthouse Location (see Column C below)

1. Class Actions must be filed in the County Courthouse, Central District. 6. Location of property or permanently garaged vehicle.

2. May be filed in Central (Other county, or no Bodily injury/Property Damage). 7. Location where petitioner resides.

3. Location where cause of action arose. 8. Location wherein defendant/respondent functions wholly.
4. Location where bodily injury, death or damage occurred. 9. Location where one or more of the parties reside.

5. Location where performance required or defendant resides. 10. Location of Labor Commissioner Office.

Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.

A B Cc
Civil Case Cover Sheet | Type of Action Applicable Reasons -
t Category No. (Check only one) See Step 3 Above
°
y Auto (22) [J] 7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death 1.2.4
=
< Uninsured Motorist (46) L} A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist | 7.. 24:
a = as ——— —— — es
(J) A6070 Asbestos Property Damage me
ae Asbestos (04) C1 A7221 Asbestos - Personal Injury/Wrongful Death 4
5° i
oc Product Liability (24)
aS ¥ (0 A7260 Product Liability (not asbestos or toxic/environmental) Tecdig di dy Bi
z= oO
e Q
= a Medical Malpractice (45) L] A7210 Medical Malpractice - Physicians & Surgeons Ve ae
on = CI a7e40 Sther Prefeasivnal Hcalin Gare Waipractice +3
& he
2 = [] A7250 Premises Liability (e.9., slip and fall)
oo Other . . 1.,2.,4
ao Personal Injury () A7230_ Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
3 & Property Damage assault, vandalism, etc.) 1.2.4
2 a a C] A7270 Intentional infliction of Emotional Distress 1.2.3
C) A7220 Other Personal Injury/Property Damage/Wrongful Death 4. = 4
ee £ ee — — — = acer]
Ts Business Tort (07 ‘
gt (07) (J A6028 Other Commercial/Business Tort (not fraud/breach of contract) 15203:
o
6 0 a1
Civil Rights (08 pg aces
és ghts (08) CO A6005 Civil Rights/Discrimination 1.,2.,3
_ a
a ;
=> Defamation (13
FS G8) CO A6010 Defamation (slanderilibel) 4,2.,.3
so
E = Fraud (16) Oo aeoi13 Fraud (no contract)
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2a
LACIV 109 (Rev. 01/07) CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION

Page 1 of 4
Non-Personal Injury/Property Damage/

Employment Wrongful Death Tort (Cont‘d.)

Contract

Real Priperty

Judicial Review Unlawful Detainer

Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 23 0f 27 Page ID #:86
SHORT TITLE: CASE NUMBER
James Arthur Ortega,v. Zones Inc.., et. al.

- A B Cc
Civil Case Cover Type of Action Applicable Reasons
Sheet Category No. (Check only one) -See Step 3 Above

Professional (1 A6017 Legal Malpractice 1.2.3.
Negligence 1.2.3
(25) [) A6050 Other Professional Malpractice (not medical or legal) —
Other (35) [) A6025 Other Non-Personal Injury/Property Damage tort 2.,3,
a ¥} A6037 Wrongful Termination 1.2.3
Other oo C] 6024 Other Employment Complaint Case 1.2.3
[] A6109 Labor Commissioner Appeals 40.
Breach of Contract/ CL] A6004 Breach of Rental/Lease Contract (not Unlawful Detainer or wrongful eviction) 2.5.
Warranty L} A6008 ContraclWarranty Breach -Seller Plaintiff (no fraud/negligence)
(08) y 2a
(not insurance) [] a6oig Negligent Breach of Contract/Warranty (no fraud) a Ope
(1 A6028 Other Breach of Contract/Warranty (not fraud or negligence) 1.2.5
Collselions CL] A6002 Collections Case-Seller Plaintiff 2.,5., 6
(09) [1 A6012 Other Promissory Note/Collections Case 25
ee ne (J A6015 Insurance Coverage (not complex) 1.2.5.8
Other Contract 1 A6009 Contractual Fraud 153),
(37) [] 6031 Tortious interference 1,2,
1) A6027 Other Contract Dispute(not breach/insurance/fraud/negligence) 13.2
Emi ‘ j
pi ish eee {] A7300 Eminent Domain/Condemnation Number of parcels 2.

Condemnation (14)

Wronota jvction Ol aesezs wrongtul Eviction Case 28

Other Real Property [] A6018 Mortgage Foreclosure 2.6.

(26) [) A6032 Quiet Title 2.6
[ A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)
2., 6.
————— — ————————— — —
Unlawful Detainer- ‘
Commercial (31) C) aso21 Unlawful Detainer-Commercial (not drugs or wrongful eviction) 2., 6.
Untawful Detainer- i : ;
Residential (32) [) A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction) 2., 6.
Unlawful Detainer-
Drugs (38) - C} A6022 Unlawful Detainer-Drugs 2..6.
ll —————
Asset Forfeiture (05) C] A6108 Asset Forfeiture Case 2.6.
Petition re Arbitration es
(44) C] A6115 Petition to Compel/Confirm/Vacate Arbitration 25
LACIV 109 (Rev. 01/07) CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.0

LASC Approved 03-04

AND STATEMENT OF LOCATION

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Provisionally Complex

Enforcement

Miscellaneois Civil

Miscellaneous Civil Petitions

Judicial Review (Cont’d.)

Litigation

of Judgment

Complaits

Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 24o0f27 Page ID #:87

SHORT TITLE CASE NUMBER
James Arthur Ortega,v. Zones Inc.., et. al.
A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasons -
Category No. (Check only one) See Step 3 Above
[J A6151_ Writ - Administrative Mandamus 2.8:
Writ of Mandate [] A6152  Writ- Mandamus on Limited Court Case Matter 2.
(02) [-] A6163 Writ - Other Limited Court Case Review 2
Other ee ees 1 A610 Other Writ (Judicial Review 2.8.
ime
AntitrusTrade ‘ ‘
Regulation (03) (J A6003  Antitrust/Trade Regulation 128
Construction Defect (10) [] A6007 Construction defect Wy 28
Claims Involving Mass : ‘
Tort (40) [] A6006 Claims Involving Mass Tort 1.,2.,8
Securities Litigation (28) LJ A6035 Securities Litigation Case 19.8
Toxic Tort i ‘
Environmental (30) LJ A6036 Toxic Tor/Environmental 1,,2,.3..8
I
Gaweten Convex [1 A6014 Insurance Coverage/Subrogation (complex case only) Vee. 8, 8
Case (41)
(1 A6141 Sister State Judgment go:
tseceranes (10 A6160 Abstract of Judgment 2..6.
of Judgment {1 A6107 Confession of Judgment (non-domestic relations) 29
(20) [1 A6140 Administrative Agency Award (not unpaid taxes) se
[] A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax
, 8.
() A6112 Other Enforcement of Judgment Case
2., 8.,9
RICO (27) [) A6033 Racketeering (RICO) Case 1.2.8
[1 A6030 Declaratory Relief Only 1.,2..8
Other Complaints [] A6040 Injunctive Relief Only (not domestic/harassment) 2,8
(Not Specified Above)
[] A6011 Other Commercial Complaint Case (non-tart/non-complex) 1.,2..8.
(42) [ A6000 Other Civil Complaint (non-tort/non-complex) 1.2.8
Partnership Corporation () A6113 Partnership and Corporate Governance Case 2.8
Governance(21) TENE
(1 46121 Civil Harassment 2.,3.,9
(1) A6123 Workplace Harassment 23.9
C] A6124 Elder/Dependent Adult Abuse Ca ~
Other Petitions : F = 2.,3., 9.
(Not Specified Above) C] A6190 Election Contest
a [] A6110 Petition for Change of Name .
2. ¢:
(J A6170 Petition for Relief from Late Claim Law
[1 A6100 Other Givil Petition Sita ett
2., 9.

LACIV 109 (Rev. 01/07)
LASC Approved 03-04

CIVIL CASE COVER SHEET ADDENDUM
AND STATEMENT OF LOCATION

LASC, rule 2.0
Page 3 of 4

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SHORT TITLE: CASE NUMBER
James Arthur Ortega,v. Zones Inc.., et. al.

item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or
other circumstance indicated in Item Ii., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

REASON: CHECK THE NUMBER UNDER COLUMN GC ADDRESS: :
13915 Cerritos Corporate Drive
WHICH APPLIES IN THIS CASE Cerritos, CA 90703
Q1. 42.713. 04. 05. 06. 07. 08. O89. O40.
CITY: STATE: ZIP CODE:
Cerritos CA 90703

Item IV. Declaration of Assignment: | declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct and that the above-entitied matter is properly filed for assignment to the Norwalk Courthous courthouse in the
Southeast District of the Los Angeles Superior Court (Code Civ. Proc., § 392 et seq., and LASC Local Rule 2.0,
subds. (b), (c) and (d)).

Dated: February 22, 2021

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO
PROPERLY COMMENCE YOUR NEW COURT CASE:

—_

Original Complaint or Petition.

If filing a Complaint, a completed Summons form for issuance by the Clerk.

Civil Case Cover Sheet form CM-010.

Complete Addendum to Civil Case Cover Sheet form LACIV 109 (Rev. 01/07), LASC Approved 03-04.

Payment in full of the filing fee, unless fees have boon waived.

Signed order appointing the Guardian ad Litem, JC form FL-935, if the plaintiff or petitioner is a minor
under 18 years of age, or if required by Court.

Dn bh wo ND

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

LACIV 109 (Rev. 01/07) CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Pane 4 of 4
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SUPERIOR COURT OF CALIFORNIA

Reserved for Clerk's File Stamp

COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS: FILED
Norwalk Courthouse Superior Court af California
12720 Norwalk Blvd., Norwalk, CA 90650 Serer incon

NOTICE OF CASE ASSIGNMENT
UNLIMITED CIVIL CASE

02/22/0021

Sheen & Carte Executve dice! Gad af lagu

By: E.Chanas Deputy

CASE NUMBER:

Your case is assigned for all purposes to the judicial officer indicated below. | 21 NWCV00105

THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

ASSIGNED JUDGE

DEPT

ROOM

ASSIGNED JUDGE DEPT | ROOM

Y |Margaret Miller Bernal

F

Given to the Plaintiff/Cross-Complainant/Attorney of Record

on 02/23/2021

(Date)

Sherri R. Carter, Executive Officer / Clerk of Court

By E, Chanes , Deputy Clerk

LACIV 190 (Raw 4/12) NOTICE OE CACC Acecirain«carr 1

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Case 2:21-cv-05142-PA-MAA Document 1-1 Filed 06/24/21 Page 27 of 27 Page ID #:90

INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES

The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent,

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the

complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE

The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is noe = complete dvlinvation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex

judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases

Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.

LACIV 190 (Rev 6/18) NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE

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